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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

THE STAYWELL COMPANY, a
Delaware company,

Plaintiff,
CASE NO.
v.

WELLCARE HEALTH PLANS, INC.,
a Delaware company,

OP? LN GP LP LP LP) LP LP) SH LN

Defendants.

 

PLAINTIFF THE STAYWELL COMPANY’S ORIGINAL COMPLAINT AND
DEMAND FOR JURY TRIAL
(INJUNCTIVE RELIEF SOUGHT)

 

Plaintiff, The StayWell Company (“StayWell”), hereby sues WellCare Health
Plans, Inc., and alleges as follows:

I. PARTIES

1. Plaintiff StayWell is a Delaware corporation with its corporate
headquarters located at 780 Township Line Road in Yardley, PA 19067.

2. Defendant WellCare Health Plans, Inc. (“WellCare”) is a Delaware
corporation with its principal place of business at 8735 Henderson Road in Tampa,
Florida 33634. WellCare has registered to do business and does business in the State of

Florida.

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Il. JURISDICTION AND VENUE

3. This court has jurisdiction over the subject matter under 15 U.S.C. § 1121,
28 U.S.C. §§ 1331 and 1338(a) and (b). This Court has pendent jurisdiction of claims
arising under state law pursuant to 28 U.S.C. §§ 1338(b) and 1367(a).

4, Defendant regularly and systematically conducts business in Florida by
advertising. soliciting, and selling its products and/or services to customers in this
District. Additionally, Defendant’s principal place of business is located within this
District.

5. Venue is proper in this District pursuant to 28 U.S.C. § 1391 because
Defendant is a corporation and is subject to personal jurisdiction in this District, and
because a substantial portion of the acts and omissions complained of herein occurred in
this District.

A. The STAYWELL Mark

6. StayWell is a provider of comprehensive health management programs
and services that help organizations maximize business results by improving employee
health and productivity (the “StayWell Services”). The StayWell Services provide
consumers with information and education to empower their health decisions and
improve the quality of their lives, and include versatile, results-oriented health
management strategies designed to improve the lives of individuals across the health
continuum. StayWell’s primary focus is business-to-business relationships whereby
employers, health insurers, hospitals. pharmacies and physicians are provided the

functional utility of the StayWell Services, that enables them to provide the product

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and/or services of StayWell to their constituents. The StayWell Services have achieved
much acclaim and notoriety because of the benefits they have provided to population
health management.

7. StayWell owns United States Service Mark Registration No. 1,189,585 for
the proprietary designation “STAYWELL” in connection with the StayWell Services (the
~STAYWELL mark”). The STAYWELL mark was registered on February 9, 1982, and
has been in continuous and broad-based use in interstate commerce since 1976. Because
of this continued use and pursuant to 15 U.S.C. § 1065, the STAYWELL mark
registration has become incontestable. A true and correct copy of Registration No.
1,189,585 is attached as Exhibit A. StayWell has also received other registrations that
incorporate the STAYWELL mark: STAYWELL INFORMATION THERAPY (Reg. No.
3,197,695); STAYWELL PRODUCTIONS (Reg. No. 3,168,371); STAYWELL
SOLUTIONS (Reg. Nos. 3,104,648, 3,104,647, 3,174,746, 3,121,420); STAYWELL’S
NEXTSTEPS (Reg. No. 2,747,675); and STAYWELL ONLINE (Reg. No. 2,366,379)
(the “StayWell Family” of marks).

8. StayWell is the exclusive owner of the STAYWELL Mark and the
StayWell Family of marks.

9. StayWell has engaged in extensive promotion of its services using the
STAYWELL mark, and its customers, distributors, and others have come to associate this
mark with the source or origin of the StayWell Services. For over 30 years. StayWell has
expended significant resources on advertising and promoting its health management

programs and services provided under the STAY WELL mark.

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10. StayWell uses numerous avenues of marketing to promote its services.
Among these avenues are an interactive website, direct mailings, trade shows, trade
publications, brochures and pamphlets, telemarketing. and personal sales visits. StayWell
uses the STAYWELL mark throughout its business to promote its health educational and
population health management services. Because of this, consumer recognition, both at
the business level and the individual consumer level, of the STAYWELL mark is
extremely high. These consumers have come to expect the highest quality from any
product or service that bears the STAYWELL mark.

11. StayWell maintains a website that provides current and potential
customers the ability to obtain information concerning the StayWell Services. StayWell
uses the STAYWELL mark throughout its Internet website to promote its StayWell
Services.

B. WellCare’s Infringement and Unfair Competition

12. | WellCare is also in the business of providing health management programs
and services to its customers. WellCare purports to provide healthcare services in the
nature of health maintenance, dental programs, vision programs, prescription drug
programs, and health maintenance organizations for beneficiaries of government-
sponsored healthcare programs.

13. As part of its services, WellCare advertises, offers for sale and sells their

services using the designation “Staywell.” Wellcare uses the term “Staywell” to refer to

and promote a class of benefits packages for government-sponsored healthcare programs,

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such as Medicaid. This includes using the term ‘“Staywell” on their website
www.wellcare.com to advertise their Medicaid services “Staywell” and “Staywell Kids”.

14. WellCare began advertising, offering for sale, and selling their services
using the term “Staywell” long after StayWell adopted and began using the STAYWELL
mark. Furthermore, WellCare’s use of the STAYWELL mark has been without
StayWell’s consent and/or authorization.

15. WellCare’s use of the term ‘“Staywell” began at a time when WellCare had
actual and/or constructive notice of StayWell’s exclusive right to use the STAYWELL
mark. Despite such actual and/or constructive notice of StayWell’s exclusive right in and
to the use of the STAYWELL mark, WellCare has intentionally infringed upon such mark
by advertising and otherwise using the term ‘“‘Staywell” in conjunction with the sale and
promotion of their healthcare services.

16. | The natural and probable consequence of WellCare’s use of the term
“Staywell” has been and will continue to be that the public and consumers will likely be
confused, misled, and deceived into believing that WellCare’s services are in some way
sponsored or affiliated with StayWell. This confusion could lead, and has led, consumers
to seek out StayWell when attempting to deal with WellCare issues. Such confusion is a
direct result of WellCare’s infringing use of the STAYWELL mark and will result in an
injury to StayWell’s reputation and the goodwill associated with the STAYWELL mark.

17. Such injury to StayWell’s reputation and goodwill is certain to occur given
WellCare’s current legal issues. Upon information and belief, WellCare is currently being

investigated by both the federal government and the State of Florida for Medicaid fraud.

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These scrious allegations and the publicity derived from the investigations cast a negative
image upon WellCare and the services it offers. Part of those services is WellCare’s
‘“‘Staywell” Medicaid service. Because of this, consumers may be mistakenly led to
believe that StayWell is in some way associated with WellCare’s allegedly fraudulent
services. Such confusion will inevitably lead to harm to StayWell’s reputation and
damage the goodwill associated with the STAYWELL mark. It is clear that unless
WellCare is restrained from further use of the term “‘Staywell,” StayWell will continue to
incur damages and will suffer irreparable harm.

18. WellCare’s infringement upon the STAYWELL mark is likely to cause
StayWell to lose control over its own reputation and goodwill, as well as other
immeasurable damages. For the harm and loss suffered by StayWell, and for the harm
and loss that will continue but for intervention of this Court, StayWell has no adequate
remedy at law. Unless WellCare is enjoined from further infringement and unfair
competition, StayWell will suffer irreparable harm because the damages sustained will be
immeasurable, unpredictable, and unending. Moreover, the Lanham Act and applicable
state law specifically provide for injunctive relief to prevent further infringement of the
STAYWELL mark.

19. All conditions precedent to this action have occurred or been waived.

HI. CAUSES OF ACTION

A. Count I; Federal Trademark Infringement and Unfair Competition

20. StayWell repeats and realleges paragraphs | through 19 above, as though

fully set forth herein.

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21. | The above-referenced actions have caused and are likely to continue to
cause confusion, or to cause mistake, or to deceive customers as to the affiliation,
connection, or association of StayWell with WellCare, or as to the origin, sponsorship or
approval of WellCare’s Services by StayWell in violation of 15 U.S.C. §§ 1114 and 1125.
As set forth above, such wrongful acts and unfair competition by WellCare have caused,
and are likely to continue to cause, StayWell to incur substantial damages. StayWell
seeks recovery from WellCare of all amounts it is entitled to under 15 U.S.C. § 1117(a),
including without limitation: (1) WellCare’s profits from the sale of each service
marketed, advertised, sold or rendered using the STAYWELL mark; (2) all damages
sustained by StayWell: (3) the costs of the action; and (4) an additional amount that the
Court considers just. In addition, StayWell seeks permanent injunctive relief prohibiting
WellCare’s use of the term “Staywell.”

B. Count Il; Federal Dilution

22.  StayWell repeats and realleges paragraphs | through 21 above, as though
fully set forth herein.

23. The acts of WellCare complained of herein dilute or cause dilution of the
distinctive quality of the STAYWELL mark, in violation of the Federal Trademark
Dilution Act, 15 U.S.C. § 1125(c).

24. WellCare willfully intended to trade on the reputation of StayWell and to
dilute or cause dilution of the STAYWELL mark. StayWell is therefore entitled to the
damages resulting from WellCare’s violation of the Federal Trademark Dilution Act, as

well as permanent injunctive relief prohibiting WellCare’s use of the term “Staywell.”

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OF Count III: Injury To Business Reputation And Dilution Under Florida Law

25.  StayWell repeats and realleges paragraphs | through 24 above, as though
fully set forth herein.

26. The foregoing acts of WellCare have resulted in dilution of the distinctive
quality of the STAYWELL mark and have destroyed and continue to destroy the goodwill
and reputation established by StayWell in connection with the STAYWELL mark, thereby
causing StayWell irreparable harm.

27. The foregoing acts of WellCare accordingly constitute dilution of the
distinctive quality of the STAYWELL mark, in violation of Florida’s Dilution Statute,
Fla. Stat. § 495.151, and Florida common law.

28. As such, StayWell is entitled to a permanent injunction prohibiting
WellCare’s use of the term “Staywell”, WellCare’s profits derived from WellCare’s
wrongful use of the STAYWELL mark as per Fla. Stat. § 495.141

D. Count IV: Common Law Trademark Infringement

29.  StayWell repeats and realleges paragraphs 1 through 28 above, as though
fully set forth herein.

30. The acts of WellCare complained of herein constitute trademark
infringement in violation of the common law of the State of Florida and the common law
of other States in which WellCare is conducting business.

E. Count V: Attorneys’ Fees

31. StayWell repeats and realleges paragraphs | through 30 above, as though

fully set forth herein.

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32.
retained the undersigned law firms to represent it and prosecute this action on its behalf,
and has agreed to pay its reasonable attorneys’ fees and expenses for prosecuting this
action. Because WellCare’s actions have been willful and deliberate, this is an
exceptional case for which attorneys’ fees are recoverable under 15 U.S.C. § 1117(a)

and/or applicable state law, pursuant to which StayWell requests an award of its

Due to WellCare’s wrongful conduct as alleged herein, StayWell has

attorneys’ fees, costs, and expenses incurred in prosecuting this lawsuit.

33.

34.

IV. JURY DEMAND

StayWell hereby requests a jury trial on all issues and claims so triable.

Vv. REQUEST FOR RELIEF

StayWell respectfully requests that StayWell be awarded the following

relief from WellCare:

(a)

(b)
(c)

That WellCare and all persons acting in concert with it be
permanently enjoined from: (1) advertising, marketing, selling or
rendering any product or service under or otherwise using or
continuing to use the term “Staywell” or any other term that is
confusingly similar to the STAYWELL mark, (2) representing to
any other person or entity that they have authority to use the term
“Staywell” or any term which is confusingly similar to the
STAYWELL mark, and (3) representing to any other person or
entity that WellCare or their products and services are in any
manner associated with. connected to, related to, sponsored by,
affiliated with, endorsed by, approved by or recommended by
StayWell;

That WellCare be required to report its compliance to StayWell;

That StayWell receive and recover from WellCare all of: (1)
WellCare’s profits from each product and service marketed,
advertised or sold using the term “Staywell”; (2) all damages
sustained by StayWell; (3) costs of court; (4) statutory damages

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(d)

(e)

(f)

(g)

(h)

allowed by the Lanham Acct; and (5) any additional amount that the
Court determines to be just;

That StayWell receive and recover it’s actual damages from
WellCare under applicable state statutory and common law;

That the Court order the WellCare to provide StayWell with the
identity of each of its customers, including phone numbers and
addresses;

That WellCare be ordered to pay StayWell its reasonable costs,
expenses, and attorneys’ fees incurred in prosecuting this action,
including any appeal;

That StayWell be awarded pre and post-judgment interest to the
maximum extent allowed by law; and

That StayWell be awarded such other and further relief to which it
may be justly entitled.

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Date: April 9, 2008

By: K Ky Ir

 

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EXHIBIT A

 
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Int. Cl: 41
Prior U.S. CL: 107
United States Patent and Trademark Office

 

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Reg. No. 1,189,585
Registered Feb. 9, 1982

SERVICE MARK
Principal Register
STAYWELL
Control Data Corporation (Dela corporation) For: EDUCATION SERVICES IN PERSONAL
8100 - ath Ave., S. wae " HEALTH, LIFE-STYLE AFFECTS ON PERSON-

Minneapolis, Minn. 55440 AL HEALTH AND LIFESTYLE ADJUST-
“ MENTS TO BENEFIT PERSONAL HEALTH, in
, CLASS 41 (U.S. CL 107).
First use 197& in commerce 1976.

Ser. No. 265,438, filed Jun. 9, 1980.
DAVID SOROKA, Primary Examiner

 
